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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE


In re:                                                      Chapter 11

iMedia Brands, Inc., et al.,1                               Case No. 23-10852 (KBO)

                                                            (Jointly Administered)
                          Debtors.
                                                            Related Docket No. 18

                                                            Hearing Date: June 30, 2023, at 2:00 p.m. (ET)



       NOTICE OF FILING OF REVISED INTERIM ORDER (I) AUTHORIZING
                POSTPETITION USE OF CASH COLLATERAL;
 (II) GRANTING ADEQUATE PROTECTION TO CERTAIN PREPETITION SECURED
               PARTIES AND C&B NEWCO; (III) SCHEDULING A
       SECOND INTERIM HEARING; AND (IV) GRANTING RELATED RELIEF

                  PLEASE TAKE NOTICE that on June 29, 2023, the above-captioned debtors

 and debtors in possession (collectively, the “Debtors”) filed the Debtors’ Motion for Entry of

 Interim and Final Orders (I) Authorizing Postpetition Use of Cash Collateral; (II) Granting

 Adequate Protection to Certain Prepetition Secured Parties and C&B Newco; (III) Scheduling a

 Second Interim Hearing; and (IV) Granting Related Relief [Docket No. 18] (the “Cash Collateral

 Motion”).2

                  PLEASE TAKE FURTHER NOTICE that attached to the Cash Collateral

 Motion was the proposed Interim Order (I) Authorizing Postpetition Use of Cash Collateral; (II)

 Granting Adequate Protection to Certain Prepetition Secured Parties and C&B Newco; (III)


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     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision
     Interactive, Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision
     Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties,
     LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
     (2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
 2
     Capitalized terms not otherwise defined herein shall have the meaning given to them in the Financing Motion.



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Scheduling a Second Interim Hearing; and (IV) Granting Related Relief (the “Proposed Interim

Order”).

                 PLEASE TAKE FURTHER NOTICE that the Debtors have prepared a revised

Proposed Interim Financing Order (the “Revised Proposed Interim Order”), which is attached

hereto as Exhibit A. The Revised Proposed Interim Order includes revisions requested by the

Office the United States Trustee and other interested parties.

                 PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit B is a

blackline comparison of the Revised Proposed Interim Order against the Proposed Interim Order

filed with the Cash Collateral Motion.

                 PLEASE TAKE FURTHER NOTICE that the Debtors intend to seek interim

approval of the Cash Collateral Motion and entry of the Revised Proposed Interim Order in

substantially the form attached hereto at a hearing by video conference (the “Interim Hearing”)

before the Honorable Karen B. Owens at the United States Bankruptcy Court for the District of

Delaware (the “Court”), located at 824 North Market Street, 6th Floor, Courtroom No. 3,

Wilmington, Delaware 19801, on June 30, 2023, at 2:00 p.m. (Eastern time).




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                 PLEASE TAKE FURTHER NOTICE that the Debtors reserve the right to

further modify, if necessary, the Revised Proposed Interim Order before or at the Interim

Hearing.

Dated: June 30, 2023                 PACHULSKI STANG ZIEHL & JONES LLP

                                     /s/ Laura Davis Jones
                                     Laura Davis Jones (DE Bar No. 2436)
                                     Timothy P. Cairns (DE Bar No. 4228)
                                     919 North Market Street, 17th Floor
                                     P.O. Box 8705
                                     Wilmington, Delaware 19899-8705 (Courier 19801)
                                     Telephone: 302-652-4100
                                     Facsimile: 302-652-4400
                                     Email: ljones@pszjlaw.com
                                             tcairns@pszjlaw.com

                                     -and-

                                     ROPES & GRAY LLP
                                     Ryan Preston Dahl (admitted pro hac vice)
                                     Cristine Pirro Schwarzman (admitted pro hac vice)
                                     1211 Avenue of the Americas
                                     New York, New York 10036
                                     Telephone: (212) 596-9000
                                     Facsimile: (212) 596-9090
                                     E-mail: ryan.dahl@ropesgray.com
                                              cristine.schwarzman@ropesgray.com

                                     -and-

                                     ROPES & GRAY LLP
                                     Stephen L. Iacovo (admitted pro hac vice)
                                     191 North Wacker Drive, 32nd Floor
                                     Chicago, Illinois 60606
                                     Telephone: (312) 845-1200
                                     Facsimile: (212) 845-5500
                                     E-mail: stephen.iacovo@ropesgray.com

                                     Proposed Counsel to the Debtors and Debtors in Possession




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